        Case 3:23-cv-03440-AMO Document 29 Filed 01/16/24 Page 1 of 4



 1   DAVID H. KRAMER, SBN 168452                  RYAN J. CLARKSON, SBN 257074
     Email: dkramer@wsgr.com                      Email: rclarkson@clarksonlawfirm.com
 2   MAURA L. REES, SBN 191698                    YANA HART, SBN 306499
     Email: mrees@wsgr.com                        Email: yhart@clarksonlawfirm.com
 3   WILSON SONSINI GOODRICH & ROSATI             TIARA AVANESS, SBN 343928
     Professional Corporation                     Email: tavaness@clarksonlawfirm.com
 4   650 Page Mill Road                           VALTER MALKHASYAN, SBN 348491
     Palo Alto, CA 94304-1050                     Email: vmalkhasyan@clarksonlawfirm.com
 5   Telephone: (650) 493-9300                    CLARKSON LAW FIRM, P.C.
                                                  22525 Pacific Coast Highway
 6   ERIC P. TUTTLE, SBN 248440                   Malibu, CA 90265
     Email: eric.tuttle@wsgr.com                  Telephone: (213) 788-4050
 7   WILSON SONSINI GOODRICH & ROSATI
     Professional Corporation                     Tracey Cowan, SBN 250053
 8   701 Fifth Avenue, Suite 5100                 Email: tcowan@clarksonlawfirm.com
     Seattle, WA 98104-7036                       CLARKSON LAW FIRM, P.C.
 9   Telephone: (206) 883-2500                    93 3rd Street, 2nd Floor
                                                  San Francisco, CA 94103
10   Counsel for Defendant                        Telephone: (213) 788-4050

11                                                Counsel for Plaintiffs and the Proposed Classes

12

13                                 UNITED STATES DISTRICT COURT

14                                NORTHERN DISTRICT OF CALIFORNIA

15                                    SAN FRANCISCO DIVISION

16

17   JILL LEOVY, NICHOLAS GUILAK,                   )   CASE NO.: 3:23-cv-03440-AMO
     CAROLINA BARCOS, PAUL MARTIN,                  )
18   MARILYN COUSART, ALESSANDRO DE LA              )   STIPULATION AND [PROPOSED]
     TORRE, VLADISSLAV VASSILEV, JANE               )   ORDER TO SET BRIEFING
19   DASCALOS, and minor G.R., individually, and    )   SCHEDULE FOR DEFENDANT’S
     on behalf of all other similarly situated,     )   ANTICIPATED MOTION TO
20                                                  )   DISMISS FIRST AMENDED
                    Plaintiffs,                     )   COMPLAINT
21                                                  )
            v.                                      )   Judge: Hon. Araceli Martínez-Olguín
22                                                  )
     GOOGLE LLC,                                    )
23                                                  )
                    Defendant.                      )
24                                                  )

25

26

27

28
     STIPULATION AND [PROPOSED] ORDER TO SET                          CASE NO.: 3:23-CV-03440-AMO
     BRIEFING SCHEDULE
        Case 3:23-cv-03440-AMO Document 29 Filed 01/16/24 Page 2 of 4



 1            Defendant Google LLC and Plaintiffs Leovy, Nicholas Guilak, Carolina Barcos, Paul

 2   Martin, Marilyn Cousart, Alessandro De La Torre, Vladisslav Vassilev, Jane Dascalos, and minor

 3   G.R. (collectively, “the Parties”), by and through their respective counsel of record, hereby

 4   stipulate as follows:

 5            WHEREAS, Plaintiffs filed this action on July 11, 2023 (ECF No. 1);

 6            WHEREAS, Defendant filed its motion to dismiss on October 16, 2023 (ECF No. 20);

 7            WHEREAS, Plaintiffs filed a notice of intent to file a First Amended Complaint in lieu of

 8   opposition to Defendant’s motion to dismiss on October 30, 2023 (ECF No. 25);

 9            WHEREAS, the Court granted the Parties’ stipulated request for Plaintiffs to file a First

10   Amended Complaint by January 5, 2024 (ECF No. 27),

11            WHEREAS, Plaintiffs filed a First Amended Complaint on January 5, 2024 (ECF No. 28),

12   which adds new allegations, claims, and plaintiffs;

13            WHEREAS, Defendant anticipates responding to the First Amended Complaint by filing

14   a motion to dismiss;

15            WHEREAS, the Parties have conferred on a briefing schedule for Defendant’s anticipated

16   motion to dismiss, and have agreed upon the below schedule, for which they agree there is good

17   cause;

18            WHEREAS, the Parties have not previously sought any extension of the time for Defendant

19   to respond to the First Amended Complaint;

20            NOW, THEREFORE, pursuant to Civil Local Rules 6-2 and 7-12, the Parties agree, subject

21   to the approval of the Court, as follows:

22            1. Defendant’s response to Plaintiffs’ First Amended Complaint shall be due on or before

23               February 9, 2024;

24            2. Plaintiffs’ opposition to any motion to dismiss shall be due on or before March 15,

25               2024;

26            3. Defendant’s reply shall be due on or before April 5, 2024.

27

28
     STIPULATION AND [PROPOSED] ORDER TO SET           -1-                    CASE NO.: 3:23-CV-03440-AMO
     BRIEFING SCHEDULE
        Case 3:23-cv-03440-AMO Document 29 Filed 01/16/24 Page 3 of 4



 1                                               Respectfully submitted,

 2   Dated: January 16, 2024                     WILSON SONSINI GOODRICH & ROSATI
                                                 Professional Corporation
 3
                                                  By: /s/ David H. Kramer
 4
                                                        David H. Kramer
 5                                                      dkramer@wsgr.com

 6                                                Counsel for Defendant
 7   Dated: January 16, 2024                     CLARKSON LAW FIRM
                                                  Professional Corporation
 8
                                                 By: /s/ Yana Hart
 9                                                       Yana Hart
                                                         yhart@clarksonlawfirm.com
10
                                                  Counsel for Plaintiffs and the Proposed Classes
11

12

13                                    SIGNATURE ATTESTATION

14          I, David H. Kramer, am the ECF User whose ID and password are being used to file this

15   document. In compliance with N.D. Cal. Civil L.R. 5-1(i)(3), I hereby attest that the concurrence

16   in the filing of this document has been obtained from the other signatory.

17                                                By: /s/ David H. Kramer
                                                        David H. Kramer
18

19

20

21

22

23

24

25

26

27

28
     STIPULATION AND [PROPOSED] ORDER TO SET           -2-                   CASE NO.: 3:23-CV-03440-AMO
     BRIEFING SCHEDULE
        Case 3:23-cv-03440-AMO Document 29 Filed 01/16/24 Page 4 of 4



 1                                       [PROPOSED] ORDER

 2          PURSUANT TO STIPULATION, IT IS SO ORDERED.

 3

 4   Dated:____________, 2024                  _______________________________________
                                               HON. ARACELI MARTÍNEZ-OLGUÍN
 5                                             UNITED STATES DISTRICT COURT JUDGE
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     STIPULATION AND [PROPOSED] ORDER TO SET      -3-              CASE NO.: 3:23-CV-03440-AMO
     BRIEFING SCHEDULE
